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OF TEXAS






NO. WR-72,265-04






EX PARTE KEVIN ERIC ROSS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. F-1060411-N IN THE 195TH DISTRICT COURT
FROM DALLAS COUNTY 





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of theft and
sentenced to imprisonment for four years. 

	On June 28, 2012, the trial court signed an order designating issues.  The habeas record has
been forwarded to this Court prematurely.  We remand this application to the 195th District Court
of Dallas County to allow the trial judge to complete an evidentiary investigation and enter findings
of fact and conclusions of law.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The 


2

issues shall be resolved within 90 days of this order.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be forwarded to this Court within 120 days of the date of this order.  Any extensions of time shall
be obtained from this Court. 


Filed: November 14, 2012

Do not publish 


	


